    Case 2:16-md-02740-JTM-MBN Document 16607 Filed 12/01/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                           SECTION “H” (5)

THIS DOCUMENT RELATES TO:
ALL CASES

                 SANOFI DEFENDANTS’ RENEWED MOTION
          FOR ENTRY OF AN ORDER REQUIRING PROOF OF DIAGNOSIS


               Defendants, sanofi-aventis U.S., LLC and Sanofi US Services, Inc. (“Sanofi” or

“Sanofi Defendants”) respectfully renew their Motion for Entry of an Order Requiring Proof of

Diagnosis. The Court previously deferred Sanofi’s Motion, but the time is now ripe for addressing

Sanofi’s request, particularly in light of the agreement-in-principle reached by the Sanofi

Defendants and certain plaintiffs to settle a significant portion of the matters currently pending

before this Court or previously remanded from these proceedings.

       WHEREFORE, Sanofi prays that the Court grant this Motion and enter the proposed order

(attached as Exhibit A).



                                                    Respectfully submitted,

                                                    /s/ Douglas J. Moore
                                                    Douglas J. Moore (Bar No. 27706)
                                                    IRWIN FRITCHIE URQUHART
                                                    MOORE & DANIELS LLC
                                                    400 Poydras Street, Suite 2700
                                                    New Orleans, LA 70130
                                                    Telephone: 504-310-2100
                                                    dmoore@irwinllc.com




                                                1
   Case 2:16-md-02740-JTM-MBN Document 16607 Filed 12/01/23 Page 2 of 2




                                                   Harley Ratliff
                                                   Jon Strongman
                                                   Adrienne L. Byard
                                                   SHOOK, HARDY& BACON L.L.P.
                                                   2555 Grand Boulevard
                                                   Kansas City, Missouri 64108
                                                   Telephone: 816-474-6550
                                                   hratliff@shb.com
                                                   jstrongman@shb.com
                                                   abyard@shb.com
                                                   Counsel for sanofi-aventis U.S. LLC and
                                                   Sanofi U.S. Services Inc.




                               CERTIFICATE OF SERVICE

        I hereby certify that on December 1, 2023, I electronically filed the foregoing with the
Clerk of the Court using the ECF system which sent notification of such filing to all counsel of
record.



                                                           /s/ Douglas J. Moore




                                               2
